                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND
 ____________________________________
                                      :
 CARRIE WELLEIN,                      :
                                      :
             Plaintiff,               :
                                      :
                     v.               :       Civil No. 1:21-cv-276-SAG
                                      :
 JERRY O. BATLEY, JR., M.D.,          :
                                      :
             Defendant.               :
 ____________________________________ :

                     PLAINTIFF CARRIE WELLEIN’S MEMORANDUM
                   IN SUPPORT OF MOTION FOR FEES AND EXPENSES

                                PRELIMINARY STATEMENT

       In its August 12, 2021 Order granting judgment by default as to liability on all claims, the

Court ordered Defendant Jerry O. Batley, Jr., M.D. to “pay Plaintiff for reasonable attorneys’ fees

and expenses” and directed Plaintiff Carrie Wellein to “submit a request for fees and expenses

within 21 days.”

       Although Ms. Wellein engaged counsel to represent her on a contingency fee basis and to

advance her expenses, her counsel have kept contemporaneous time records of their work because

of the possibility of obtaining an award of attorneys’ fees from Dr. Batley on some of her claims.

From October 27, 2020 through August 31, 2021, Ms. Wellein’s lead counsel, David S. Wachen,

Esq., spent 107.5 hours pursuing this case on her behalf. At his standard hourly rate of $370 in

2020 and $380 in 2021, this equates to $40,621 in fees that Ms. Wellein asks the Court to order

Dr. Batley to pay based on the “lodestar” method for calculating fee awards. The work performed

was necessary and reasonable under the circumstances. Ms. Wellein has also incurred $6,113.50

in expenses in pursuit of her claim.

       Thus, Ms. Wellein respectfully requests that the Court order Dr. Batley to pay $46,734.50
for fees and expenses through August 31, 2021 and allow her to submit an additional request for

fees and expenses incurred from September 1, 2021 through the conclusion of the case.

                                              FACTS

       On or about January 20, 2020, Plaintiff Carrie Wellein engaged Pennsylvania law firm

Mooney & Associates to represent her with respect to a potential lawsuit against Defendant Jerry

O. Batley, Jr., M.D. for the substantial damage she has sustained as a result of Dr. Batley’s

outrageous conduct, as detailed in the Complaint (DE 1) and Ms. Wellein’s Motion for Default

Judgment (DE 9). (Declaration of David S. Wachen ¶ 12 (Ex. 1).)

       After it was determined that Maryland would be the appropriate venue for a lawsuit against

Dr. Batley, on or about September 22, 2020, Ms. Wellein engaged Maryland attorney David S.

Wachen, who is a member of the Maryland Bar and this Court’s Bar and has substantial experience

in defamation and privacy matters, to represent her as lead counsel, in association with Mooney &

Associates and its attorney Jason Imler, in the litigation against Dr. Batley. (Id. ¶ 13.) Mr. Wachen

and Mr. Imler agreed to represent Ms. Wellein on a contingency-fee basis and to advance all

expenses associated with the representation. (Id. ¶ 14.)

       Mr. Wachen investigated the facts surrounding Ms. Wellein’s claim by interviewing Ms.

Wellein on multiple occasions, communicating and coordinating with Mr. Imler regarding his

firm’s work, analyzing relevant paper and electronic documents, engaging a computer forensics

specialist to assist with data collection and analysis, researching applicable legal claims to pursue,

and engaging a forensic psychiatrist to examine Ms. Wellein. (Id. ¶ 15.)

       On February 2, 2021, counsel on behalf of Ms. Wellein filed the six-count Complaint in

this action (DE 1). Two of the claims—Count 2 for unlawful dissemination of intimate images, in

violation of 42 Pa. C.S.A. § 8316.1, and Count 3 for visual surveillance with prurient interest, in




                                                  2
violation of Md. Code, Crim. Law § 3-902(c)—allow for the award of reasonable attorney’s fees

and costs. On February 22, 2021, Dr. Batley was personally served with the Summons and

Complaint at 10:19 a.m. local time in Lovington, New Mexico by a process server with the Lea

County, N.M. Sheriff’s Office. (Proof Serv. (DE 5).) Later that day, Dr. Batley was served in

Lovington with another copy of the Summons and Complaint by a private process server. (Mot.

Def. Judg. Ex. 3 (DE 9-4).)1

        Pursuant to Rule 12(a)(1)(A)(i), Dr. Batley’s response to the Complaint was due 21 days

after service, on March 15, 2021. However, Dr. Batley did not respond or contact Ms. Wellein or

her counsel. (Wachen Decl. re Req. Default ¶ 8 (DE 6-1).)

        On March 24, 2021, Ms. Wellein filed a Request for Entry of Default (DE 6).On March

26, 2021, the Clerk entered an Order of Default (DE 7) and issued a Notice of Default (DE 8) to

Dr. Batley. Dr. Batley did not file a response, appear, or contact Ms. Wellein or her counsel.

        On July 27, 2021, Ms. Wellein filed a motion for default judgment (DE 9). After Dr. Batley

failed to respond, the Court, on August 12, 2021, granted Ms. Wellein’s motion, entered judgment

by default as to liability for all claims, ordered Dr. Batley to pay Ms. Wellein for reasonable

attorneys’ fees and expenses, directed Ms. Wellein to submit a request for fees and expenses within

21 days, and ordered Dr. Batley to return or destroy all intimate images of Ms. Wellein and certify

to the Court that he has done so.2 (Order (DE 13).) The Court set a hearing for September 30, 2021

at 2 p.m.to determine an appropriate damages award. (Order (DE 14).)




1
  Dr. Batley was served twice due to a coordination mix-up involving the two process servers. However, the unintended
duplicate service further confirms Dr. Batley’s receipt of process and knowledge of this action.
2
  Dr. Batley has not contacted Ms. Wellein or her counsel about what the Court ordered him to do.


                                                         3
                                          ARGUMENT

I. The Court Should Order Batley to Pay $46,734.50 in Fees and Expenses to Date

       The Court’s August 12, 2021 Order provides that Dr. Batley “shall pay Plaintiff for

reasonable attorneys’ fees and expenses” and directs Ms. Wellein to submit this request for fees

and expenses within 21 days.

       A.     Batley Should Pay $6,113.50 in Expenses Incurred in Pursuing this Action

       To date, Ms. Wellein’s counsel have advanced and incurred expenses on her behalf totaling

$6,113.50 in pursuing this action. (Wachen Decl. ¶ 16.) These expenses are as follows:

       Description                                                     Amount

       Court Filing Fee for initiating action                           $402.00

       Service of Process fees charged by New Mexico process            $180.00
       servers to locate and serve Dr. Batley

       Costs incurred in obtaining records from the Pennsylvania        $111.00
       State Police relating to Ms. Wellein’s criminal complaint
       and the prosecution of Dr. Batley, including documentary
       evidence provided by Ms. Wellein

       Fees charged by data forensics specialist for retrieving data    $575.00
       from Ms. Wellein’s mobile phones

       Fees charged by Forensic Psychiatrist, Christiane               $4,750.00
       Tellefsen, M.D., for examination of Ms. Wellein and
       preparation of an expert report

       FedEx charges for sending the Court a courtesy copy of            $17.18
       Plaintiff’s Motion for Default Judgment and Motion to
       Seal Dr. Tellefsen’s Report

       Travel to/from Gettysburg, Pa. to secure records from             $78.32
       Adams Co. D.A.’s Office and meet with client and co-
       counsel (135.4 miles x 0.56/mile3), plus parking



3
   The IRS standard mileage rate for use of a car for business in 2021 is 56 cents per mile. See
https://www.irs.gov/newsroom/irs-issues-standard-mileage-rates-for-2021.


                                                4
       TOTAL:                                                            $6,113.50

(Id.) Each of these expenses was necessary and reasonable in pursuing this action. (Id. ¶ 17.)

       Accordingly, the Court should order Dr. Batley to pay $6,113.50 for expenses incurred.

       B.      Batley Should Pay $40,621 in Reasonable Attorneys’ Fees to Date

       As this Court recognized, “In calculating the appropriate award of attorneys’ fees, the Court

must first determine the lodestar amount, defined as a ‘reasonable hourly rate multiplied by hours

reasonably expended.’” Int’l Painters & Allied Trades Ind. Pension Fund v. K&K Painting, No.

ELH-18-3395, 2019 WL 4291677, at *4 (D. Md. Sept. 11, 2019) (quoting Grissom v. Mills Corp.,

549 F.3d 313, 320 (4th Cir. 2008)) (Gallagher, M.J.), adopted, Order (Nov. 14, 2019) (DE 14).

       After determining the lodestar amount, the Court determines a reasonable fee “by assessing

whether the hours worked were reasonable.” Id. In reviewing the lodestar amount and reasonable

fee, the Court considers the factors outlined in Johnson v. Georgia Hwy. Exp., 488 F.2d 714, 717-

19 (5th Cir. 1974). Barber v. Kimbrell’s, 577 F.2d 216, 226 (4th Cir. 1978). Those factors are:

       (1) the time and labor required; (2) the novelty and difficulty of the questions; (3)
       the skill requisite to properly perform the legal service; (4) the preclusion of other
       employment by the attorney due to acceptance of the case; (5) the customary fee;
       (6) whether the fee is fixed or contingent; (7) time limitations imposed by the client
       or the circumstances; (8) the amount involved and the results obtained; (9) the
       experience, reputation, and ability of the attorneys; (10) the “undesirability” of the
       case; (11) the nature and length of the professional relationship with the client; and
       (12) awards in similar cases.

Thompson v. HUD, No. MJG-95-309, 2002 WL 31777631, at *6 n.19 (D. Md. Nov. 21, 2002)

(quoting Johnson, 488 F.2d at 717-19).

       Ms. Wellein has been represented by two attorneys in pursuing her claims against Dr.

Batley. Initially she was represented by Pennsylvania attorney Jason Imler, Esq., whose firm she

first contacted regarding a possible lawsuit against Dr. Batley. Thereafter, she engaged Maryland

attorney David S. Wachen, Esq., with considerable expertise in defamation and privacy matters,



                                                 5
to prepare, file, and pursue her claims, in association with Mr. Imler, against Dr. Batley. For

purposes of this request, Ms. Wellein is seeking now a fee award for only Mr. Wachen’s time,

from October 27, 2020 through August 31, 2021.4

                 1.       Reasonable Hourly Rate

        “In determining whether counsel’s hourly rates are reasonable, the court must consider

whether ‘the requested rates are in line with those prevailing in the community for similar services

by lawyers of reasonably comparable skill, experience, and reputation.’” Garza v. Mitchell

Ruhenstein & Assocs., No. GJH-15-1572, 2016 WL 7468039, at *2 (D. Md. Dec. 27, 2016)

(quoting Blum v. Stenson, 465 U.S. 886, 890 n.11 (1984)). The hourly rates sought here are well

in line with that standard.

        Lead attorney Wachen is a solo practitioner in Potomac, Md., in the Washington, D.C.

metropolitan area. (Wachen Decl. ¶ 3.) He is a member of the Bar of the State of Maryland and of

this Court, among other state and federal bars, and has been practicing law for almost 30 years.

(Id. ¶ 4.) Mr. Wachen graduated from Dartmouth College in 1987 and the University of

Pennsylvania Law School in 1992, where he was an editor of the University of Pennsylvania Law

Review and chair of the Moot Court Board. (Id. ¶¶ 5-6.) Following graduation, Mr. Wachen clerked

for U.S. District Judge Jay C. Waldman in Philadelphia, after which he entered private practice in

1993. (Id. ¶ 7.) Prior to becoming a solo practitioner, Mr. Wachen worked at several large, national

law firms, including Baker Hostetler LLP, where he was a partner in the firm’s First

Amendment/Media Law Practice. (Id. ¶¶ 8-9.) The majority of Mr. Wachen’s practice focuses on

defamation and privacy issues, an area of the law in which Mr. Wachen has practiced nationally

for 25 years. (Id. ¶¶ 10-11.)


4
  Ms. Wellein will seek an additional award of fees and expenses for work performed from September 1, 2021 through
the conclusion of this case, including work relating to the damages hearing on September 30, 2021.


                                                        6
       At the time of Mr. Wachen’s engagement, his standard hourly rate was $370, a reasonable

hourly rate for an attorney of Mr. Wachen’s experience and expertise in the geographic area in

which he practices as well as in this District. (Id. ¶ 19.) On January 1, 2021, Mr. Wachen’s standard

hourly rate increased to $380, a reasonable hourly rate for an attorney of Mr. Wachen’s experience

and expertise in the geographic area in which he practices and in this District. (Id. ¶ 20.)

       Appendix B of the Local Rules for this Court provides “Rules and Guidelines for

Determining Attorneys’ Fees in Certain Cases.” See D. Md. L.R. App. B at 122 (July 1, 2021). Its

“Guidelines Regarding Hourly Rates” suggests a range of hourly rates of $300-475 for lawyers,

like Mr. Wachen, who have been admitted to the bar for more than 20 years, recognizing, however,

that “there are attorneys for whom, and cases for which, the market rate differs from these guideline

rates. Id. at 124-25. Mr. Wachen’s standard hourly rate of $370 in 2020 and $380 in 2021 falls

comfortably within the guideline range, below the midpoint. According to the Adjusted Laffey

Matrix (Wachen Decl. Ex. A), which is another source that federal courts use in considering the

amount of a fee award, the reasonable billing rate for an attorney of Mr. Wachen’s experience with

no other qualifications is $914, more than double Mr. Wachen’s standard hourly rate.

       Thus, Mr. Wachen’s standard hourly rate of $370 in 2020 and $380 in 2021 is reasonable

for purposes of calculating the lodestar amount here.

               2.      Hours Reasonably Expended

       During this engagement, Mr. Wachen has kept contemporaneous, detailed time records for

work performed on Ms. Wellein’s behalf, as reflected on the Time Entries Report accompanying

his declaration. (Id. ¶¶ 23-24 & Ex. B.) From October 27, 2020 through August 31, 2021, Mr.

Wachen spent 107.5 hours pursuing this action on Ms. Wellein’s behalf. (Id. ¶ 24.) This does not

include considerable time spent by Mr. Wachen with Ms. Wellein and Mr. Imler prior to October

27, 2020 that involved reviewing and analyze certain records and data provided by Mr. Wellein,


                                                  7
as well as initial analysis of Ms. Wellein’s case from a factual and legal perspective.5

        However, for purposes of Ms. Wellein’s instant fee request, Ms. Wellein seeks a fee award

for Mr. Wachen’s time spent from October 27, 2020 through August 31, 2021 at his standard

hourly rate of $370 in 2020 and $380 in 2021. As reflected in Mr. Wachen’s time records, Mr.

Wachen’s recorded time during that period falls into the following phases and tasks:

        Phase     Description                                                             Hours       Fees6

           1.     Pre-Complaint (10/27 - 11/13/20): investigation; analysis;                 4.8      $1,776
                  work with forensic psychiatrist

           2.     Prepare and File Complaint (12/2/20 - 2/2/21): draft                      25.4     $9,4717
                  Complaint; research and analyze claims and possible
                  procedural approaches and strategy; coordinate with client
                  and co-counsel

           3.     Immediate Next Steps (2/3 – 3/4/21): Analyze case                          2.9      $1,102
                  assignment; locate Defendant; arrange and coordinate
                  service of process in New Mexico; file proof of service with
                  Court

           4.     Default Judgment, Fact Development, Expert Report (3/22 –                 63.4    $24,092
                  7/27/21): Pursue entry of default; obtain records from
                  Pennsylvania State Police and Adams County, Pa. D.A.’s
                  Office; coordinate forensic psychiatrist expert report;
                  coordinate with client and co-counsel; prepare and file
                  comprehensive motion for default judgment, 31-page
                  memorandum of law, accompanying declarations and
                  exhibits, and motion to seal forensic psychiatrist’s expert
                  report

           5.     Entry of Default Judgment, Fee Request 7/28 – 8/31/21):                   11.0      $4,180
                  Analyze and inform client, co-counsel, and forensic
                  psychiatrist of Court ruling; prepare request for fees and
                  expenses

                  TOTAL:                                                                  107.5     $40,621



5
  Because of the contingency fee arrangement with Ms. Wellein, counsel did not keep contemporaneous time records
until it became apparent that Ms. Wellein might have claims permitting recovery of fees. (Id. ¶ 26.)
6
  Calculation based on an hourly rate of $370 in 2020 and $380 in 2021.
7
  Calculation based on 18.1 hours in 2020 and 7.3 hours in 2021.


                                                       8
(Id. ¶ 27.)8

        The time spent by Mr. Wachen in pursuing this case for Ms. Wellein was reasonable under

the circumstances. (Id. ¶ 29.) The facts were complex as reflected in the 21-page Complaint

consisting of 162 paragraphs of allegations. (Id. ¶ 30.) Ms. Wellein asserted six legal claims in a

rapidly developing area of the law without a lot of reported decisions, necessitating significant

legal research and analysis. (Id.) This impacted the amount of time needed to prepare not only the

Complaint but also the Motion for Default Judgment and accompanying 31-page Memorandum of

Law to establish Dr. Batley’s liability on each claim. (Id.) Service of process on Dr. Batley was

complicated by the fact that he lives in an underpopulated area of New Mexico and had moved to

a new address of which Ms. Wellein and her counsel were not aware at the time they sought to

serve him. (Id.) The compensatory and punitive damages sought by Ms. Wellein—in excess of $1

million—are substantial, requiring sufficient care, sophistication, and experience to ensure that the

case was prosecuted effectively to secure a favorable outcome. (Id.)

        Although Dr. Batley has not appeared in or defended this action, Ms. Wellein and her

counsel did not anticipate that would occur. (Id. ¶ 31.) Given Dr. Batley’s wealth, resources, and

sophistication as well as the amount of damages being sought, Ms. Wellein and her counsel

expected a vigorous defense and pursued the case accordingly. (Id.)

        When Dr. Batley failed to appear and defend thereby conceding the truth of the allegations,

Ms. Wellein’s counsel still needed to prepare a comprehensive motion for default judgment to

establish that Ms. Wellein had sufficiently stated claims for relief on each of the counts in her

Complaint. (Id. ¶ 32.) Counsel also sought to provide the Court with information concerning



8
  Because the Court has set a hearing on damages for September 30, 2021, Ms. Wellein’s instant fee request does not
include time to prepare for and represent Ms. Wellein at the hearing and any subsequent work that is needed. Ms.
Wellein will therefore supplement this request for time spent after August 31, 2021.


                                                        9
damages awards in similar cases, requiring further research and analysis. (Id.)

       When the Court granted Ms. Wellein’s motion as to liability and directed the submission

of this request for fees and expenses, her counsel needed to prepare this motion and will be

preparing for the upcoming damages hearing and submitting a supplemental request for fees and

expenses for the remainder of the case. (Id. ¶ 33.)

       All of this work on Ms. Wellein’s behalf was necessary and reasonable under the

circumstances and should be fully credited, after consideration of the relevant Johnson factors. In

particular, factors 1-3, 5-6 and 8-10 are relevant and support application of the award:

    Johnson
     Factor

       1.      The time and labor required are described above and were reasonable and necessary
               to achieve the favorable outcome. The case was staff leanly, with one attorney
               doing the work.

       2.      The issues in this case were novel and difficult. This is a developing area of the law
               in which there are not a lot of reported decisions in Maryland or elsewhere. This
               necessitated significant research and analysis.

       3.      Because this case involves a developing area of the law and was against a
               sophisticated party with significant resources, considerable skill and experience
               was needed to perform the necessary legal tasks effectively to ensure a favorable
               outcome.

       5.      Although cases of this nature are typically pursued on a contingency basis, the fees
               sought from Dr. Batley here are based on a lodestar calculation using Ms. Wellein’s
               counsel’s standard hourly rate at the time the work was performed.

       6.      Ms. Wellein and her counsel have entered into a contingent fee arrangement. Based
               on the damages sustained, the contingent fee will likely exceed the fee award
               requested. If anything, this factor would call for an enhancement of the fee award.
               See Estate of Allen v. Balt. Co., No. CCB-13-3075, 2019 WL 1410974, at *3 (D.
               Md. Mar. 28, 2019) (“A contingency fee arrangement may justify a higher
               attorney’s fee award.”).

       8.      Ms. Wellein seeks substantial damages, in excess of $1 million. Ms. Wellein’s
               counsel have achieved a favorable outcome, obtaining judgment as to liability on
               all of her claims, injunctive relief against Dr. Batley, and an award of fees and costs.



                                                 10
       9.      Ms. Wellein’s lead counsel has substantial experience in defamation and privacy
               cases over 25 years of practice in that area and has developed a positive reputation
               for his work and success in that area.

       10.     This case has undesirable and unseemly elements given the outrageous acts of Dr.
               Batley and lasting impact on Ms. Wellein. In addition, because Ms. Wellein’s
               counsel are representing her on a contingency fee basis, they have had to advance
               the costs of litigation and bear the risk of not being made whole and not being
               compensated for their time in the event that the litigation were unsuccessful or that
               they are unable to collect a judgment from the out-of-state Defendant.

       Based on consideration of these relevant factors, Ms. Wellein’s fee request for $40,621 is

reasonable under the circumstances.

                                         CONCLUSION

       For these reasons, Ms. Wellein respectfully requests that the Court order Dr. Batley to pay

her for reasonable attorneys’ fees of $40,621 and expenses of $6,113.50, for a total of $46,734.50

through August 31, 2021, and allow Ms. Wellein to supplement her request for fees and expenses

at the conclusion of this case.

Dated: September 2, 2021
                                                     Respectfully submitted,

                                                     /s/David S. Wachen
                                                     David S. Wachen (Bar No. 12790)
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                                                     Counsel for Plaintiff Carrie Wellein




                                                11
                                 Certificate Regarding Service

       Defendant is in default for failing to appear. In accordance with Federal Rule of Civil

Procedure 5(a)(2), “No service is required on a party who is in default for failing to appear.”


                                                             /s/David S. Wachen
                                                             David S. Wachen
                                                             Counsel for Plaintiff
